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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

ERICA CHAVEZ ,                         §
         Plaintiff,                    §
                                       §
VS.                                    §
                                       §   Civil Action No.   7:15-cv-487
STATE FARM LLOYDS,                     §
         Defendants.                   §
                                       §
                                       §
                                       §

                                  EXHIBIT 3




                                                                       Page 1 of 1
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

 ERICA CHAVEZ                                    §
      Plaintiff,                                 §
                                                 §
 VS.                                             §
                                                 §       Civil Action No. 7:15-cv-487
 STATE FARM LLOYDS,                              §
      Defendant.                                 §




                            INDEX OF MATTERS BEING FILED
                          AND LIST OF ALL COUNSEL OF RECORD



       Defendant State Farm Lloyds (ADefendant@) submits this Index of Matters Being Filed and

List of All Counsel of Record pursuant to Local Rule 81 of the United States District Court for the

Southern District of Texas. Pursuant to the Local Rule 81, the following items are being filed

with the Notice of Removal filed by Defendant:

       1.      Index of Matters Being Filed and List of All Counsel of Record;

       2.      Copies of all executed process, pleadings asserting causes of action and all orders

               signed by the state judge as follows:

               A.     Plaintiffs’ Original Petition;

               B.     Citation by personal service; and

               C.     Defendant’s Original Answer.

       3.      A copy of the state court docket sheet.
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        4.     The parties= respective attorneys are as follows:

               A.     ATTORNEY FOR PLAINTIFF:

                      Joshua P. Davis
                      TSBN 24055379
                      Katherine Ray
                      TSBN 24091634
                      JOSH DAVIS LAW FIRM
                      1010 Lamar, Suite 200
                      Houston, Texas 77002
                      (713) 337-4100 – Phone
                      (713) 337-4101 – Fax
                      josh@thejdfirm.com


               B.     ATTORNEYS FOR DEFENDANTS:

                      Dan K. Worthington
                      TSBN 00785282 / SDOTBN 15353
                      Sofia A. Ramon
                      TSBN 00784811/SDOTBN 20871
                      Charles W. Downing
                      TSBN 24069631/SDOTBN 1048595
                      ATLAS, HALL & RODRIGUEZ, LLP
                      818 W. Pecan Blvd. (78501)
                      P.O. Box 3275
                      McAllen, Texas 78502
                      Tel: (956) 682-5501
                      Fax: (956) 686-6109

Dated: November 19, 2015.




ERICA CHAVEZ
VS.
STATE FARM
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                                                         DC·15-594
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                                                Stall' Courrty - Oislricl Clerk                 Eloy R. GaJ:cia, District Clerk
                                                                                                Starr County: Teicas

                                                                                                Litxzary Benavi:les
                                     CAUSE NO. DC-15-594

      ERICA CHAVEZ,                                          §                    IN THE DISTRICT COURT OF
                                                             §
                               Plaintiff.                    §
                                                             §
      vs.                                                    §                       STARR COUNTY, TEXAS
                                                             §
      STATE FARM LLOYDS,                                     §
                                                             §
                               Defendant.                    §                     229th   . JUDICIAL DISTRICT


            PLAINTIFF'S ORiGINAL PETITION AND REQUEST FOR DISCWSURE

              Plaintiff: Erica Chavez, files this Original Petition complaining of Defendant,

      State Fann Lloyds ('"State Fann") and in support thereof shows the court and the jwy the

      following:

                                            DISCOVERY CONTROL PLAN

              1.       Plaintiff intend~ that discovery be conducted under Dis.covery Level 3 and

      req~ests     the Court issue a Scheduling Order.

                                                       PARTIES

              2.       Plaintiff is an individual residing in Starr County~ Texas.

              3.       Defendant State Farm is an insurance company licensed to do business in:

      the State of Texas and may be served with process by serving its agent for service,

      Co~o...tion Service Company c/o State Farm Lloyds, 211                        E..7th St., Suite 620, Aus~
      Texas 78701.

                                            JURISDICTION AND VENUE

              4.       This Court has jurisdiction           ov~r     this controversy because the damages

      sought by Plaintiff are within the jurisdictional limits of this Court. PiaintifY·s damages
              .                                                                               .
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                 are less than $75,000.00. However TEx. R. Crv. P. 47 requires Plaintiff to plead monetary

                 relief of $100,000.00 or less, including damages of any kind, penalties, costs, expenses,

                 pre-judgment interest, and attorney's fee.

                        5.       The Court has jurisdiction over certain parties because they are companies

                 doing business in Texas and/or individuals who reside in Texas.

                        6.       Venue is proper in this county because the facts giving rise to this litigation

                 occurred in Starr County. The laws of the state of Texas apply to the subject matter of

                 this dispute.

                                                   FACTUAL BACKGROUND

                        7.       Plaintiff has an insurance policy with State Fann Lloyds that covers her

                 home, policy number 83-B8-V450-7 (the "Policy''). Plaintiff's residence is located at is

                 located at 6597 FM 1430, Rio Grande City, Texas 78582 (the ''Property"). On May 28,

                 2014, Plaintiff submitted a claim related to this covered loss sud Defendant found a small

                 amount of damage and denied the remainder of the claim.

                                                            CLAIMS

                                                    Negligent Misrepresentation

                        8.       Plaintiff sues Defendant for negligent misrepresentations. Defendant, either

                 individually or through its authorired agents, employees or representatives, solicited

                 Plaintiff and made several false representations regarding Defendant's readiness,

                 willingness and ability to fulfill the terms· and duties placed on it by tenns of Plaintiff's

                 insurance agreement. These representations led Plaintiff to rely upon Defendant and were

                 a material basis for her decision to enter into the policy. Absent the misrepresentations

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made by Defendant, or its authorized agents, employees or representatives, Plaintiff

would not have entered into the policy with Defendant. Defendant either knew, or should

have kno~ that these representations were false and made for the purpose of deceiving

Plaintiff so that he would rely on said misrepresentations to Plaintiff's detriment. As

such, Defendant's misrepresentations have caused Plaintiff to suffer damages for which

he now seeks compensation.

                         Breach of Good Faith and Fair Dealing

       9.     Defendant, as Plaintifrs insurance company, at all times during the claims

process owed a duty of good faith and fair dealing. Defendant' s acts and omissions
                 ..
violated that duty and Plaintiff was ~aged as a result

                                    Breach of Contract

       10.    Defendant, through its -various contractual relationships with Plaintiff,

breached its contract with Plaintiff through its acts and omissions, and have caused

damages to Plaintiffthat_are greater than the jurisdictional limits of this Court.

                       Money Had & Received/Unjust Enrichment

       11.    Defendant, by refusing to present Plaintiff with her rightful insurance

proceeds stemming from her claims, has caused Plaintiff to suffer an unc·onscionable loss

and Defendant is unjustly enriched as a result.

                                        Negligence

       12.    At all times Defendant owed the duty of reasonable care to Plaintiff.

Defendant, through its acts and omissions. has breached that duty of care and caused

damages to Plaintiff that are greater than the minimal jurisdictional limits of this Court.


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                          Taas Insurance Code§§ 541.060 and 541.152

            13.    Defendant 'violated numerous provisi~ns of the TEXAS lNSU~CE CODE,

     Article §541 .060 that include:

                      a. misrepresenting to a claimant a material fact or policy provision
                         relating to coverage at issue;

                      b. flriling to attempt in good faith to effectuate a prompt; fair, and
                         equitable settlement of:

                              1.   a claim with respect to which the insurer's liability has
                                   become reasonably clear; or

                             u. a claim under one portion of a .Policy with respect to which
                                the insurer's liability has become reasonably clear to
                                influence the claimant to settle another claim Wlder another
                                portion of the coverage uilless payment under one portion of
                                the coverage constitutes evidence of liability under another
                                portion~ -

                      c. failing to promptly provide to a policyholder a reasonable
                         explanation of the basis in the policy, in relation to the facts or
                         applicable law, for the insurer's denial ·of ~ claim or offer of a
                         compromise settlement of a claim;

                      d. fa.ilmg Within a rea8onable time to:

                              1.   affinn or deny coverage of a claim to a policyholder; or

                             n.. submit a reservation of rights to a policyholder;

                      e. refusing, failing, or unreasonably delaying a settlement offer under
                         applicable first-party coverage on the basis th.at other coverage may
                         be available or that third parties are responsible ,for the damages
                         suffered, except as may be specifically provided in the policy; and,

                      f. refusing to pay a claim without conducting a reasonable
                         investigation with respect to the claim;

     TEX. INS. CODE ANN.§ 541.060 (Vernon).



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..   .



                14.     Defendant's violations of this provision caused damages to Plaintiff that

         are greater than the miiiimaI jurisdictional limit of this Court. Plaintiff is entitled to relief

         in accordance with Articles §541.152(a) of the TEXAS INSURANCE CODE.

                1.5.   Plaintiff is also entitled to additional damages pursuant to -Article

         §54 l. l52(b) because Defendant violated that statute knowingly.

                                                   DAMAGES

                16.    As a direct and proximate result of the acts, omissions, breaches and

         violations more fully described above, Plaintiff has been damaged by Defendant's acts

         and/or omissions and those damages are within the jurisdictional limits of this Court.

                17.    Ultimately, Plaintiff will ask a jury of her peers to assess a fair and

         reasonable amount of money damages . as compensation for her economic and non-

         econom,ic injuries, as weU as punishment for Defendant's actions. These damages will

         include statutory   pen~ty   interest and consequential damages. Additionally, Plaintiff

         seeks pre- and post-judgment interest, costs of court, and reas.onable and necessary

         attorney's·fees.

                                            EXEMPLARY DAMAGES

                18.    Defendant's actions as described above were intentional and made with

         knowing disregard for Plaintiff's rights and/or with malice towards Plaintiff. Plaintiff

         prays for punitive damages in addition to compensatory damages.




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                                                            ATTORNEYS' FEES

                              19.    Plaintiff has been r~quired to obtain legal counsel as a result of Defendant's

                      ' intentional acts and omissions.,As a result, Plaintiff has and will incur attorney's fees and

                       expenses prosecutiqg her claims. Plaintiff is therefore entitled to recover her reasonable

                       and necessary attorney's fees under both the        TEXAS INSURANCE CODE      and   TEX. CIV.

                       PRAC. & REM. CODE. ANN.§ 38.001 et seq.

                                                          CONDITIONS PRECEDENT

                              20.    All necessacy conditions precedent to the filing of this suit have been, or

                       will be, met as required by law.

                                                              JURY DEMAND

                              21.    Plaintiff demands a trial by jury, and has tendered the appropriate fee.

                                                      REQUEST FOR DIS~LOSURE

                              22.    Plaintiff reque~ts .that Defendant disclose within 50 days of the receipt of

                       this suit the information listed in TEXAS R.ULE OF CIVIL PROCEl)URE 194.2 (a)- (1).

                                                              CONCLUSION

                              Plaintiff requests that Defendant, State Farm Lloyds be cited to appear and answer

                      herein, and that upon a final hearing of the cause, judgment be entered· for Plaintiff

                       against Defendant for the following:

                                     a.     Actual and consequential damages;

                                     b.     Punitive and additional damages;

                                     c.     StatutoI)' inte.rest of 18%;

                                     d.     Attorney's fees and expenses;


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=~     ........
,";:   .. ·       ,


                                         e.   Pre- an4 post-judgment interest at the maximum legal rate;
....
 · ..
.   .  ~·.                               f.    Costs of suit~ and,

                                         g.    All other and further relief, at law or in equity, to which Plaintiff
                                               may show herself justly entitled.


                                                                     Respectfully submitted,

                                                                     JOSH DAVIS LAW FIRM



                                                                     By:    /s/ J. D{l\lis
                                                                            Joshua P. Davis
                                                                            State Bar No. 240553 79
                                                                            Katherine Ray
                                                                            State Bar No.
                                                                                       . ..24091634
                                                                                           ·
                                                                      1010 Lamar, Suite 200
                                                                     Houston, Texas 77002
                                                                      713.337.4100/Phone
                                                                      713.337.4101/Fax
                                                                     josh@thejdfirm.com
                                                                     katie@thejdfirm.com

                                                                     Attorneys for Plaintiff




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                                       DC-15-594

ERICA CHAVEZ,                              §          IN THE DISTRICT COURT OF
                                           §
                     Plaintiff.            §
                                           §
vs.                                        §                STARR COUNTY, TEXAS
                                           §
STATE FARM LLOYDS,                         §
                                           §
                     Defendant.            §               229•h JUDICIAL DISTRICT


                     PLAINTIFF'S FIRST REQUEST FOR
                 PRODUCTION, SET OF INTERROGATORIES,
               AND REQUEST FOR ADMISSIONS TO DEFENDANT

TO:     Defendant, State Farm Lloyds, by and through its registered agent, Corporation
        Service Company, 211 E. i'n Street, Suite 620, Austin, Texas 78701.

        The following Request for Production, Interrogatories, and Request for

Admissions are served upon Defendant State Farm Lloyds ("State Farm") pursuant to

Rule 196, 197, and 198 of the TEXAS RULES OF CIVIL PROCEDURE. Defendant must

produce copies of all responses, admissions, and requested documents (as they are kept in

the ordinary course of business or organized and labeled to correspond with categories in

each request), not more than 50 days after service, at the office of Joshua P. Davis, JOSH

DAVIS LAW FIRM, 1010 Lamar, Suite 200, Houston, Texas 77002.
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                                Respectfully submitted,

                                JOSH DAVIS LAW FIRM



                                By:     /s/ J. P. Davis
                                        Joshua P. Davis
                                        State Bar No. 24055379 -
                                        Katherine Ray
                                        State Bar No. 24091634
                                 1010 Lamar, Suite 200
                                 Houston, Texas 77002
                                 713 .337.4100/Phone
                                 713.337.4101/Fax
                                josh@thejdfirm.com
                                katie@thejdfinn.com

                                Attorneys for Plaintiff




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                         DEFINITIONS AND INSTRUCTIONS

As used in these discovery requests, the terms listed below shall be defined as follows:

  1.   "You," "your" and/or "State Farm'' refers to Defendant State Farm Lloyds.

  2.   The "policy" refers to the insurance policy/contract you provided to Plaintiff(s) in
       this case that (a) was effective on May 28, 2014, the date of loss in this case; and
       (b) covered Plaintiffs home located at 6597 FM 1430, Rio Grande City, Texas
       78582.

  3.   "Loss,, refers to all damages relating to the wind and hailstorm that occurred on
       May 28, 2014, referred to in Plaintiffs Original Petition.

  4.   "Plaintiff(s)" refers to Plaintiff Erica Chavez. in this cause.

  5.   The tenns ••documents" and "tangible things" mean and include originals, if
       available, otherwise a carbon copy, Xerox copy or photocopy, computer-generated
       copy, electronic copy, or other identical or non-identical copy and copies different
       from the original ' because of handwritten notes, underscoring, or other similar
       markings or alterations of any papers, letters, memoranda, books, accounts,
       writings, drawings, graphs, charts, photographs, electronic or videotape
       recordings, e-mails, text messages, instant messages, backup tapes, computer hard
       drives, metadata, electronic storage devices (including but not limited to disks,
       CD's, DVD 's, memory sticks, and any other electronic storage devices), and any
       and all other data compilations from which information can be obtained and
       translated into reasonably usable form. These terms include documents and
       tangible things sent by you to any other person as well as documents and tangible
       things intended only for your use.

  6.   The terms "documents" and "tangible things" also mean and include
       communications not only in words, but in symbols, pictures, sound recordings,
       films, tapes, and information stored in or assessable through computers or other
       information storage and retrieval systems, including e-mail. If the information is
       kept in a computer or information storage and retrieval system, please provide or
       explain all codes and programming instructions and any other information
       necessary to understand, access, or use the system. Plaintiffs request that you
       produce e-mail and electronic or magnetic data in paper form or on a disk.

  7.   Additionally, the terms "documents" and "tangible things" mean and include, but
       are not limited to, the following : calendars, checkbooks, contracts, agreements,
       reports, bills, invoices, records of obligations and expenditures, corporate bylaws
       and charters, correspondence, letters, diaries, files, legal documents, financial


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     documents (including, but not limited to, annual reports, quarterly reports, 10-Ks,
     10-Qs, balance sheets and profit-and-loss statements), memoranda, notes, press
     releases, purchase · orders, schedules, evaluations, written reports of tests or
     experiments, telegrams, drafts of documents, "post-it notes," "e-mail," and
     telephone-transmitted facsimiles.

8.   The term "person" means any natural person, corporation, firm, association,
     partnership, joint venture, proprietorship, governmental body, and any other
     organization, business, or legal entity.

9.   When referring to a person or entity, the term "identify" mearis to provide the
     following information:

        a.     the name of the person or entity;
        b.     the present or last known address of the person or entity; and,
        c.     the present or last known telephone number of the person or entity.

I 0. When referring to a document or tangible thing, the term "identify" means to
     provide the following information:

        a.     the type of document or tangible thing (for example, a letter,
               handwritten note, or e-mail);
        b.     the title or heading that appears on the document or tangible thing;
        c.     the date of the document or tangible thing and the date of each
               addendum, supplement, or other addition or change;
        d.     the identity of the author of the document, the identity of the person
               who signed the document, the identity of the person on whose behalf or
               at whose request or direction the document was prepared, and the
               identity of the person to whom the document was directed, delivered,
               mailed, given, or transmitted; and
        e.     the present location of the document, and the name, address, and
               telephone number of the person having custody of the document.

11. When referring to an occasion, the term "identify" means to provide the following
    information:

        a.     the date of the occasion;
        b.     the parties involved;
        c.     the location;
        d.     the cause;
        e.     whether a claim or lawsuit was filed and if so the resolution; and
        f.     briefly explain what happened.



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12. The word "and" means "and/or."

13. The word "or" means "or/and."

14. If any interrogatory is objected to, please state the complete basis for your
    objection. If you object to only a portion of a particular interrogatory, specifically
    identify that portion and answer the remainder completely. If you claim a privilege
    or privileges as grounds for not answering any interrogatory in whole or in part, in
    enough detail to pennit the court to adjudicate the validity of your claim, please
    state the privilege or privileges you are asserting, describe the factual basis for
    your claim of privilege, and include relevant dates and persons involved.

15. Plaintiff(s) request(s) that all documents, other data compilations, or tangible
    things that relate to, concern, or that might impact on the subject matter of this
    litigation be preserved and that any ongoing process of document destruction
    involving such documents cease.

16. If you claim a privilege or privileges as grounds for not answering any
    interrogatory in whole or in part, please provide Plaintiff's(s') attorney with an
    appropriate privilege log.




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                PLAINTIFFS' FIRST REQUEST FOR PRODUCTION

                                      CONTACT INFO

I.      Copies of the employment files for all employees of Defendant(s) who are listed
       as persons with knowledge in response to Plaintiffs(s') request for disclosure, as
       well as the person with the most knowledge of Plaintiffs(s') account and the
       handling of same in this case. If you contend such documents are privileged, '
       Plaintiff(s) request(s) a privilege log be prepared which details all such documents
       so Plaintiff(s) may determine whether privilege applies and seek a judicial
       determination of privilege.

                                           POLICY

2.     A certified copy of the insurance policy pertaining to the claims involved in this
       suit.

                                        CLAIM FILE

3.     The claim files from the home, regional, local offices, and .third party
       adjusters/adjusting firms regarding the claim that is the subject of this matter,
       including copies of the file jackets, "field" files and notes, and drafts of documents
       contained in the file.

4.      The field notes, measurements and file maintained by the adjuster(s) and/or
        engineers who physically inspected the subject property.

5.      The electronic diary, including the electronic and paper notes made by
        Defendant's(s' ) claims personnel, contractors, and third party adjusters/adjusting
        firms relating to the Plaintiffs(s') claims.

                                   UNDERWRITING FILE

6.      The underwriting files referring or relating in any way to the policy at issue in this
        action, including the file folders in which the underwriting documents are kept and
        drafts of all documents in the file.




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                               RECORDED STATEMENT/EUO
                                                   \..
7.       All oral, taped, or recorded statements made by any participants and/or witnesses
         to the transactions and occurrences which form the basis of Plaintiffs(s') lawsuit
         which are in the possession, constructive possession, custody or control of the
         Defendant(s), Defendant's(s') attorney, or anyone acting on Defendant's(s')
         behalf.

                                      CLAIM PAYMENT

8.        The "Pay sheet," "Payment Log," or list of payments made on Plaintiffs(s')
          claim. This includes all indemnity, claim expenses and third party payments.

                                    CLAIM PROCEDURES

9.       Your written procedures or policies (including document(s) maintained in
         electronic form) that pertain to the handling of windstorm claims in Texas from
         the date of loss at issue in this claim, and back one year, and forward one year. If
         the party answering this request is an independent adjuster, produce the requested
         documents for both the independent adjusting company and the party [carrier] that
         hired you with respect to this claim.

10.      Your written procedures1 or policies (including document(s) maintained in
         electronic form) in place from the date of loss at issue in this claim, and back one
         year, and forward one year, that pertain to the handling of complaints made by
         windstorm policyholders in Texas. If the party answering this request is an
         independent adjuster, produce the ·requested documents for both the independent
         adjusting company and the party [carrier) that hired you with respect to this claim.

11 .     The Operation Guides which relate to the handling of hail claims in Texas in effect
         from the date of loss at issue in this case, and back one year, and forward one year.
         If the party answering this request is an independent adjuster, produce the
         requested documents for both the independent adj usting company and the party
         [carrier] that hired you with respect to this claim.

12.      Copies of alt manuals, videotapes, computer based learning modules, pamphlets,
         packets, memoranda, emails, and any and all other docwnents and/or media that
         detail the training and/or education provided to Defendant's(s') employees
         regarding evaluation of claims, use of any computer programs used to assist in
         evaluating and valuing claims, data utilized by computer program(s) in evaluating
         claims, and dissemination of the results of such analysis.




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13.      Copies of any and all manuals, instructions (whether written, ·e lectronic, or
         otherwise), and , documents providing guidance for all computer program(s)
         utilized by Defendant(s) to evaluate Plaintitrs(s') claim(s). If you contend such
         documents are privileged, Plaintiff(s) request(s) a privilege log be prepared which
         details all such documents so Plaintiff(s) may determine whether privilege applies
         and seek a judicial determination of privilege.

                                        INVESTIGATION

14.      Any and all non-privileged investigation documentation, reports and/or
         memoranda made by or submitted to Defendant(s), as a result of the claims
         asserted by Plaintiff(s) which have been made the basis of Plaintiff's(s') lawsuit
         (whether written, ·e lectronic, or otherwise). If you contend such documents are
         privileged, Plaintiff(s) request(s) a privilege log be prepared which details all such
         documents so Plaintiff(s) may determine whether privilege applies and seek a
         judicial determination of privilege.

15.      The emails, instarit messages and internal correspondence pertaining to
         Plaintiff's(s') underlying claim.

16.      The videotapes, photographs and recordings of Plaintiff(s) or Plaintiff's(s') home,
         regardle~s of whether you "intend to offer these items into evidence at trial.

17.      Copies of the results of any and all computer analysis (whether written, electronic,
         or otherwise) of Plaintiffs(s') claims in this cause, as well as all documents and
         communications (whether written, electronic, or otherwise) disseminated by
         and/or between agents and/or employees of Defendant(s) regarding such results. If
         you contend such documents are privileged, Plaintiff(s) request(s) a privilege log
         be prepared which details all such documents so Plaintiff(s) may determine
         whether privilege applies and seek a judicial determination of privilege.

18.      A copy of all correspondence, emails and reports between the Defendant(s) and
         any outside consultants or investigators involving the Plaintiff(s) or Plaintiffs(s')
         claims made the basis of this lawsuit.

19.      Surveillance movies, photographs, videotapes, films or the like of any parties to
         this suit, of Plaintitrs(s') property at issue.

20.      Copies of all documents that Defendant(s) contend(s) support denial of
         Plaintiffs(s') claims and/or tender of less than policy limits for Plaintiffs(s')
         claims.                                                          .




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     21.      Copies of any and all communications (whether written, electronic, or otherwise)
              by and·between Defendant(s) and any person, company, or entity Defendant(s) has
-'            had evaluate the financial records of Plaintiff(s). This request encompasses all
              communications, whether via letter, memo, facsimile, email, or any other
              communication of any kind. If you contend such documents are privileged,
              Plaintiff( s) request(s) a privilege log be prepared which details all such documents
              so Plaintiff(s) may determine whether privilege applies and seek a judicial
              determination of privilege.
                                                 REPORTS

     22.      The adjusting reports, estimates and appraisals prepared concerning Plaintiff's(s')
              underlying claim.

     23.      Any engineering or other reports prepared concerning Plaintiffs(s ') underlying
              claim.

     24.      Any roofing repair reports prepared concerning the Insured Location.

                                               ADJUSTER(S)

     25.      The documents reflecting your criteria and procedures for the selection and
              retention of independent adjusters and engineers handling windstorm claims in
              Texas from one year prior to the date of loss at issue through one year after such
              date.

     26.      If a third party evaluated the subject property, provide the documents that show
              the number of other matters in which the same such person(s) were retained by
              you to evaluate other properties over the past five years.

     27.      Your approved or preferred veridor list for engineers, third party
              adjusters/adjusting companies, roofers and contractors, for windstorm claims iil
              Texas from one year prior to the date of loss at issue through one year after such
              date.

     28.      The billing statements, including billing detail, of the independent adjusters and
              engineers retained to evaluate the subject property.

     29.      For the past five years, the portions of the personnel file of the adj uster(s) involved
              in handling Plaintiffs(s') claims that pertain to disciplinary actions associated
              with claims handling, and performance under a bonus or incentive plan.




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30.      The contract between the Defendant msurer and the Defendant third party
         adjusting company.

31.      The correspondence between the Defendant insurer and the third party
         adjusters/adjusting firms, engineers and other estimators who worked on the claim
         that pertain to the Claim at issue.

32.      The bonus or incentive plan for adjusters in effect for the time period one year
         prior to the date of loss at issue through one ·year after such date.

33.      The documents, manuals, and training materials, including audio and/or video
         tapes used in training, overseeing, or supervising your personnel employed in
         adjusting property claims in Texas and in effect from one year prior to the date of
         loss at issue through one year after such date.

                                           STORM

34.      The information regarding weather conditions on which you relied in making
         decisions on the Plaintitrs(s') claims.

35.     A copy of all complaints from insurance agents concerning, generally or
        specifically, Defendant's(s') denials or partial denials, of any other hail or
        windstorm claim for the same date of loss as the claim in this case, and for any
        property within 20 miles of the property at issue here.

36.      Produce the claim file for all property damage claims made by persons for the
         same date of loss as Plaintiffs(s') claim. This request is limited to persons who
         live within a 5-mile radius of Plaintiffs(s') insured residence.

37:      If you dispute that the cause of the loss was related solely to a storm during the
         policy period at issue, produce all reports in your possession regarding damage to
         any property within a one-mile radius of the Plaintiffs(s') insured property, and
         produce any reports concerning hail such radius.

                    POLICIES AND PROCEDURES FOR HANDLING CLAIMS

38.      Defendant's(s') internal newsletters, bulletins, publications and memoranda
         relating to policies and procedures for handling Texas hail claims that were issued
         from one year prior to the date of loss at issue to one year after that date,
         including, but not limited to, memoranda issued to claims adjusters.




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39.      The price guidelines·. that pertain to the handling of claims arising out of hail
         storms. In the event you utilize published guidelines or "off the shelf' software,
         without modification, as your price guidelines, you may respond by simply
         identifying by name, version, and/or edition the published guidelines you use.

40.       The Complaint Log requiied to be kept by you for windstorm complaints in Texas
          filed over the past three years.

41 .     A curriculum vitae or resume, written report, bibliography, fee agreement and list
         of cases each expert has testified in over the past ten years, whether live or by
         deposition, for any individual whom you may call as an expert witness in the trial
         of this matter.

                                            EXPERTS

42.       The managerial bonus or incentive plan for managers responsible for windstorm
          claims in effect for the time period one year prior to the date of loss at issue
          through one year after such date.

                                             OTHER

43 .      Any and all documents described or utilized in responding to Plaintiffs(s')
          Interrogatories and Request For Disclosure to Defendant(s). If you contend such
          documents are privileged, Plaintiff(s) request(s) a privilege log be prepared which
          details all such documents so Plaintiff(s) may determine whether privilege applies
          and seek a judicial determination of privilege.

44.       Any agreements for settlement, indemnification, compromise, guarantee, or any
          other kind of agreement which you have entered into with any party, non-party, as
          a result of or relating to the insurance claim made the basis of this lawsuit.

45.       Copies of all documents, forms, applications, or authorizations provided by
          Plaintiff(s) to Defendant(s).




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               PLAINTIFF'S FIRST SET OF INTERROGATORIES

                               CONTACT INFORMATION

INTERROGATORY 1: State the name, address (both work and home), telephone
number, driver's license number, social security number, and position or job title of all
persons answering these interrogatories and all persons consulted in answering these
interrogatories.

ANSWER:

                                        POLICY

INTERROGATORY 2: For the insurance policy that forms a basis of th~s lawsuit,
state:
       a. the name, principal place of business and telephone number of the insurer;
       b. the name, address and telephone number of the named insured(s);
       c. the policy number;
       d. the effective dates of coverage;
       e. the types of coverage included (e.g., property damage);
       f. the amount of coverage;
       g. the dates of premium payment; and,
       h. the amount of the premium payment on each date.

ANSWER:

                                   NOTICE OF CLAIM

INTERROGATORY 3: List the date(s) Defendant(s) received Plaintiffs(s') claim(s)
for coverage for property damages, the date(s) Defendant(s) first acknowledged
Plaintiffs(s') notice of claim(s), and in what form these notices were submitted.

ANSWER:

INTERROGATORY 4: If the date Defendant(s) first acknowledged Plaintiffs(s')
notice of claim(s) was not within fifteen business days from the date Defendant(s)
received Plaintiffs(s') claim for coverage for property damage, please state the reasons
you contend you were not able to accept or reject the claim with fifteen business days and
identify all documents evidencing such facts.

ANSWER:




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                            RECORDED STATEMENTS/ EUO

INTERROGATORY 5: Please state whether Defendant(s) took, or are aware of the
taking of a recorded statement and/or examination under oath of Plaintiff(s) regarding the
claim made the basis of this lawsuit. If a recorded statement and/or examination under
oath was taken, please state the date it was taken and the name of the person taking the
statement. Please also state whether the statement was transcribed and where the
statement is currently located and/or the last place Defendant(s) saw a transcription of
same.

ANSWER:

                                REVIEW OF THE CLAIM

INTERROGATORY 6: State the name, address, telephone number, and job title or
position of all persons who . issued, adjusted, investigated, reviewed, handled, made
entries or made decisions, or exchanged any documents or communications, including
electronic, regarding Plaintiffs(s') insurance policy or the claim(s) making the basis of
this lawsuit, including the name, address and telephone number of the identified person1s
supervisor. For all such persons who are no longer employees, agents, or representatives
of any defendant, please so indi~ate and provide the person's last known address and
telephone number.

ANSWER:

INTERROGATORY 7: State the legal theories, and describe the factual bases for your
contention that Defendant(s) fully complied with each of the claims handling
requirements codified in TEX. INS. CODE§ 54i.060

ANSWER:
                                      ADJUSTERS

INTERROGATORY 8: State the name, address, and telephone number of the office
from which each person involved in adjusting the claim at issue worked while handling
Plaintiff's(s') clairn(s), and the name, address, and telephone number of each person's
direct supervisor during that time.                                            ·

ANSWER:




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INTERROGATORY 9 : State whether any person involved in adjusting the claim at
issue requested or asked for assistance in handling and/or investigating Plaintiffs(s')
claim(s), and if so, identify to whom the request was made.

ANSWER:

INTERROGATORY 10: State the number of years in which any adjuster involved in
the claim at issue has adjusted, investigated and/or recommended any compromise
settlement and/or payment of policies held by the insurance company involved in this
case. Please also provide the date on which such adjuster was licensed as an adjuster in
the State of Texas.               ·

ANSWER:

INTERROGATORY 11: For each adjuster involved with the claim at issue, list any and
all courses, seminars, education, training or other experiences such person has attended or
received concerning knowledge of TEX. INS. CODE Chapter 541. Formerly Art. 21.21, et
seq., and TEX. INS. CODE Chapter 542, formerly Art. 21.55. et seq. Please also provide
the name, address and telephone number of the entity or individual that sponsored and/or
provided the course, seminar, education, training or other experience.

ANSWER:

INTERROGATORY 12: State the current annual salary each person involved in
adjusting the claim at issue earns from the adjustment of insurance claims. Please state
any bonus and/or profit-sharing proceeds received in the last five years and how those
bonus and/or profit sharing proceeds were calculated.

ANSWER:

                                       PAYMENTS

INTERROGATORY 13: State the total amount of all payments, if any, you contend
were made by you to the Plaintiff(s) as a result of the claim that forms the basis of this
suit.

ANSWER:

INTERROGATORY 14: Identify anyone who recommended payment on Plaintiffs(s')
claim(s), and if so, state what amount(s).

ANSWER:




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                                I    BASIS FOR DENIAL

INTERROGATORY 15: Ple~e state in full detail each and every contention or denial
of liability on Plaintiff's(s') clai;ms made the basis of this suit. lnclude in your answer:

       a.    all facts known to\ you which you contend support or corroborate each such
             denial;            I
       b.    the name, business and residence address, and telephone number of each
             person known to you who claims to have any knowledge relating to each
             such denial of Plalntiff's(s') claims; and,
       c.    the name, busine~s and residence address, and telephone number of the
             present custodian of any writings in support of each such denial.

ANSWER:                         I
INTERROGATORY 16: StatJ every basis, in fact and in the terms of Plaintiff's(s')
                                  1
policy, for Defendant's(s') deni Ial or partial denial and/or· recommendation of denial or
partial denial of Plaintiffs(s') claim(s).
                                 I
ANSWER:

                                        DEFENSES

INTERROGATORY 17: If you contend that Plaintiff(s) have failed to comply with
any condition precedent to the contract of insurance that forms the basis of this suit,
please identify the condition precedent and state the basis for'your contention.

ANSWER:

INTERROGATORY 18: If you contend that the claim in question is excluded from
coverage for any reason under the contract of insurance that forms the basis of this suit,
please state the basis for this exclusion.

ANSWER:

INTERROGATORY 19: State whether Defendant(s) contend(s) that Plaintiff(s) did not
provide any of the named Defendant(s) in this cause of action with requested information
which was required in order to properly evaluate Plaintiffs(s') claim(s). If so, state what
information was requested and not provided, and the dates of the requests.

ANSWER:




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                                  TRIAL- WITNESSES

JNTERROGATORY 20: Identify every person who is expected to be called to testify at
trial, including your experts. See TEX. R. C1v. P. 192.3(d).

ANSWER:

JNTERROGATORY 21:              Identify all discoverable, consulting experts, that is,
consulting experts whose work has been reviewed by the testifying expert. See T EX. R.
CIV. P. 192.3(e). For each expert named, provide the following information:

      a.     the expert's name, address, and telephone number;
      b.     the expert's current resume and bibliography;
      c.     the facts known to the expert that relate to or form the basis of the expert' s
             mental impressions and opinions fonned or made in connection with the
             case, regardless of when and how the factual information was acquired;
      d.     the mental impressions or opinions of the expert formed or made m
             connection with the case and any methods used to derive them;
      e.     any bias of the expert; and,
      f.     identify all documents and tangible things, including reports, models, or
             data compilations, that have been provided to, reviewed by, or prepared by
             or for the expert, so the documents or tangible things may properly
             besought by a request for production.

ANSWER:

INTERROGATORY 22: Identify every person who has impeachment or rebuttal
evidence and describe the evidence each person has. If you have enough information to
anticipate the use of impeachment or rebuttal evidence or witnesses, you must provide
that information.

ANSWER:

                                         STORM

INTERROGATORY 23: Identify every other insurance claim (by name, address and
telephone no. of the insured) made for property damage in the same city/town as the
house at issue in this case, and stemming from the same storm, which claim was paid in
part or whole. State the name, phone number, and address of the insured.

ANSWER:




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INTERROGATORY 24: Give the name, address and telephone number of all persons
making a claim with you for property damage for the same date of loss as Plaintiffs(s')
claim. This request is limited to persons who live within a 5-mile radius of Plaintiffs(s')
insured residence.

ANSWER:

                           CLAIM HANDLING INVESTIGATIONS

INTERROGATORY 25: For each investigation by a Texas governmental agency within
the last four years into Defendant's(s') practices when handling first party claims for
personal property damage, state the name of the agency, the names of all investigators,
and the names of all government representatives with whom Defendant(s) communicated
for purposes of the investigation.

ANSWER:




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                PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS

1. Admit that Plaintiff(s) has/have fulfilled all conditions precedent to file suit.

RESPONSE:

2. Admit that this lawsuit concerns a covered claim.

RESPONSE:

3. Admit that this lawsuit concerns an uncovered claim.

RESPONSE:

4. Admit that you dispute Plaintiffs(s') scope of work as described in Plaintiffs(s') RJ
   Molina Estimating Estimate attached to Plaintiffs(s') demand letter of May 27, 2015.

RESPONSE:

5. Admit that you do not dispute Plaintiffs(s') scope of work as described in
   Plaintiffs(s') RJ Molina Estimating Estimate attached to Plaintiff's(s') demand letter
   ofMay 27, 2015.

RESPONSE:




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                      ··~   Case 7:15-cv-00487 Document 1-3
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                                                                Filed in TXSD on 11/19/15 Page 29 of 40


         ~ilK ()f             THE
                        COVRT ..                                                                  ATTORNEYFORPLAiNTIFF
         ELO\' R. GARCIA                                                                        JOSHUA DAVIS .
        ·STAQ. COUNTY COURTHOUSE                                                                 1010 LAMAR, SUITE 200
         RJO GRANDE             cm.
                           TEXAS 78582                                 '.                        H~US'.fON, TX 77002


                                                                       :•


                                                                        CITATION
         THE STATE OF TEXAS
                 NOTICE TO THE DEF:ENDANT: "You have been sued. You may employ an attorney •. Jf you or your
         attom~y do not 'file a writtenanswer With the clerk who issued this citation By I0:00 a:m. on the Monday next
       . foll~wing the expifation of twe~ty days after you were served this citation and ~titian, a default judgment may
         be take~ against you."                       ·                                                                       ·

         TO:                cORPORAJlO~
                                    TH
                                              SERVICE COMPANY c/o STATE FARM LioYDs~
                                                    .                .
                            211 E. 7 - S.T.,·SUITE 620,                                                                           '·
                            AUSTIN, TµAS 78701




                 DEFENDANT, in the h~eafter and styled and numbered cause: DC-15-594
         You are hereby-commanded to appear by filing a written answer to the.PLAINTIFF'S .ORIGINAL                               ·..
         PETITION AND REQUEST FOR DIS'CLOSURE at or before 10 o'clock A.M. of the Monday next
       . after the expiratio~ oftwentj .~~ys after the date of service of this citation before the Honorable 229TH .
         DISTRICT COURT JUD.GE ANA LISA .GARZA of STARR COUNTY, TEXAS at the Court.
         Hous·e of said .county in RIO GRANDE CITY, TEXAS. Said Petition W'15 filed cm the 9th Day of
       · OCTOBER A.D, ~ in th.ls cause numbered DC-15-594 the docket of said coui:t, and styled,

                                                            ERICA CHAVEi,
                                                                        PLAINTJFF
                                                                             v.
                                                          STATE FARM LLOYDS,
                                                             ·DEFENDANT.
                                                              .        ..


         The natur~ of Plain~iff's demand is fully shown ~Y                 a tru¢ 811d correct copy of PLAINTIFF'S ORIGINAL
        . PETITION AND. REQUEST.FOR DISCLOSURE
                  '                      ... ... .
                                                  accompanying
                                                            .
                                                               this citation arid made a part hereof.
                                                             • '' '•                  .




              . The ofli'cer executing this writ shall promptly serve the same according to requirements of law, and the
         niandates' thereof, artd make due return as the law directs. :        .
         Issued and given under; ~y hand and se41l of said Cou,rt at office, this 9rn Day of O.CTOBE~ 1015



                                                                                      ELOY ·R. GARCIA .
                                                                                     -PISTRICT CLERK
                                                                                      OFST .    COUNTY, TEXAS

                                                                                          BY:                            DEPUTY




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           Case 7:15-cv-00487 Document 1-3 Filed in TXSD on 11/19/15 Page 30 of 40


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Executed at             · · , within the County of               , at __o'clock_·_     . ,M.
on the _ _ day of                            ,_ .       , by delivering to the within named                 .                      .a true
copy of this citation together with the accompanying copy of this petition, having first 1;1ttached suc;h C()PY of si.ich petition to such
copy of citation and endorsed on such copy <Jf citation t~e date.of delivery                                ··

           Not executed, the diligence used to execute being---~---------·; for the following
rea<;-0n                                        .the defendant may be found ...,._._ _ _ _ _ _ _ _ _ _ _ _ _ __
           Total fee for serving this citation ----.....:.                     • Sheriff Account No. ·.
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To certify which witness. my hand officially. .
Sheriff of                       Cowty, Texas                                                                                ~y:_ _ _ _ _ _ _ _                                             Dei)uty


COMPLETE fF YOU ARE A PERSON OTHER THAN A SHERIFF~ CONSTABLE. ORCLERK OF THE COURT
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In accordance with Rule 107: The offi~er au~orized person who.'Sei:ves, or attempts to ~er\rc:, !l:citatio!;l 'shall sigri the rcturri.
The signature is not required to be verified. If the return is signed by a person other t.h.ar:i a sheriff, constabl~ or 1'te.clerk of
the court, the return shall be signed under penalty of perjury and contairi the following statemept
"My name is _ _ _ _ _ _ _ _ _ _ _, my dateo.fb.irt~ is _ _ _ _-'--_ _, and my address is ·


1 DECLARE UNDER PENALTY OF eREJURY THAt THE FORoOING IS TRUE ANO CORRECT. .
Exec~ted     in _____ county, state of_.....__ __,· on the --.,..·~·day of.,.......,....._,_, _ __




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                                                                                                                    (ID 'It &. expiration ofCertification}
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                                                           .    . . . ".CHAVEZ· '.
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                                                           : : Pµl~llFF                                                                                     ~ i .    • ••



                                                   . . : . . v.·:                        .
                                                   STATE              FA.RM .LLOYD$,
                                                             DEFENDANT.
                                                                                                                                                                                                                            ·.
                                                    .229tR DISTRICT COURT·
                                                   OF STARR ~OUNTY; TExAS
                                                                               ;   ..
                                                   9m        DAY OFOCTOBER, 2015

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                                                                  day of.. :                                     .: , 2015
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                                                         . ELOY R,. :GAACif.~
                                                        CLERK.OF THE COURT '.
                                            BY:                         .· ·                              ; OEPUTY
     Case 7:15-cv-00487 Document 1-3 Filed in TXSD on 11/19/15 Page     31 of 40
                                                                Filed: 11/12/2015 9:08:30 AM
                                                                         Eloy R. Garcia, District Clerk
                                                                         Starr County, Texas

                                                                         Dulce Morin
                                 CAUSE NO. DC-15-594

ERICA CHAVEZ,                                     §   IN THE DISTRICT COURT OF
     Plaintiff,                                   §
                                                  §
v.                                                §   STARR COUNTY, TEXAS
                                                  §
STATE FARM LLOYDS,                                §
     Defendant.                                   §   229th JUDICIAL DISTRICT

     DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF THIS COURT:

        NOW COMES STATE FARM LLOYDS, Defendant in the above-styled and

numbered cause, and files its Original Answer to Plaintiff’s Original Petition, and in

support thereof would respectfully show the Court the following:

                                            I.

                                   GENERAL DENIAL

        Reserving the right to file other further pleadings, exceptions and/or denials,

Defendant generally denies each and every material allegation contained in Plaintiff’s

Original Petition and demands strict proof thereof in accordance with the laws and the

Rules of Civil Procedure of the State of Texas.

                                            II.

                               AFFIRMATIVE DEFENSES


1.      Policy Coverage Provisions. Under the Insuring Agreement, Plaintiff bears the

burden to prove damage resulting from an occurrence of accidental direct physical loss

to the insured property during the policy period. Plaintiff lacks proof that any additional

damages resulted from any accidental direct physical loss during the policy period.




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2.     Payment. State Farm is entitled to an offset or credit against Plaintiff’s damages,

if any, in the amount of all payments State Farm has made to or on behalf of Plaintiff

under the policy in connection with the damages and the insurance claim, that give rise

to Plaintiff’s claims in this lawsuit, including payment(s) made in connection with prior

insurance claim(s) regarding the same damages.

3.     Deductible/Offset. State Farm is entitled to an offset or credit against Plaintiff’s

damages, if any, in the amount of Plaintiff’s deductible.

4.     Limit of Liability. State Farm’s liability, if any, is limited to the amount of the

policy limits under the subject policy, pursuant to the "Limit of Liability" and other

clauses contained in the policy sued upon.

5.     Normal Wear and Tear. Plaintiff’s claims are barred, in whole or in part, because

the damages and losses alleged in Plaintiff’s Petition, none being admitted, were

proximately caused in whole or in part by normal wear and tear and other non-covered

losses. The policy at issue specifically provides:

                         SECTION I – LOSSES NOT INSURED

       1.     We do not insure for any loss to the property described in Coverage
              A which consists of, or is directly and immediately caused by, one
              or more of the perils listed in items a. through n. below, regardless
              of whether the loss occurs suddenly or gradually, involves isolated
              or widespread damage, arises from natural or external forces, or
              occurs as a result of any combination of these:

                                      * * * * *
              f. except as specifically prohibited by this endorsement, continuous or
                 repeated seepage of water or steam from a:

                 (1) heating, air conditioning or automatic fire protective sprinkler
                 system;

                 (2) household appliance; or



                                                                                 Page 2 of 8
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                   (3) plumbing system, including from, within or around any shower stall,
                   shower bath, tub installation, or other plumbing fixture, including the
                   walls, ceilings or floors;

                   which occurs over a period of time. If loss to covered property is
                   caused by water or steam not otherwise excluded, we will cover the
                   cost of tearing out and replacing any part of the building necessary to
                   repair the system or appliance. We do not cover loss to the system or
                   appliance from which the water or steam escaped.

              g. wear, tear, marring, scratching, deterioration, inherent vice, latent
                 defect or mechanical breakdown;. . . .

              i.   mold, fungus or wet or dry rot;. . . .

              l. settling, cracking, shrinking, bulging, or expansion of pavements, patios,
              foundation, walls, floors, roofs or ceilings;. . . .

       3.     We do not insure under any coverage for any loss consisting of one or
              more of the items below….

              b.      defect, weakness, inadequacy, fault or unsoundness in:
                      (1)    planning, zoning, development, surveying, siting;
                      (2)    design, specifications, workmanship, construction, grading,
                             compaction;
                      (3)    materials used in construction or repair; or
                      (4)    maintenance;

              of any property (including land structures, or improvements of any kind)
              whether on or off the residence premises; or

              c.      weather conditions.


6.     Failure of Policy Conditions/Conditions Precedent. Defendant hereby asserts

all conditions of the policy at issue including but not limited to all terms, deductibles,

limitations on coverage, exclusions set out in the Policy, and all “duties after loss.”

Specifically, Plaintiff failed to satisfy the conditions of the policy requiring Plaintiff to

timely notify Defendant of a claim, which reads as follows:

                                 SECTION I – CONDITIONS



                                                                                   Page 3 of 8
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                                       * * * * *
       2.     Your Duties After Loss. After a loss to which this insurance may
              apply, you shall see that the following duties are performed:

              a.     give immediate notice to us or our agent…

              b.     protect the property from further damage or loss, make
                     reasonable and necessary temporary repairs required to
                     protect the property, keep an accurate record of repair
                     expenditures;
                                      * * * * *
              d.     as often as we reasonably require:

                     (1) exhibit the damaged property;

                     (2) provide us with records and documents we request and
                     permit us to make copies;


Plaintiff failed to satisfy the condition precedent requiring immediate notice of a loss.

Plaintiff first reported her claim on January 14, 2015, more than seven months after the

May 28, 2014 date of loss. This delay in reporting is unreasonable and prejudiced State

Farm’s investigation of Plaintiff’s claim. Based on the limited information available at the

time Plaintiff submitted her claim, on information and belief, Plaintiff failed to protect her

property from further damage during the considerable delay between when Plaintiff

alleges the damage occurred and when she submitted her claim seven months later.

Plaintiff cannot recover, in whole or in part, on Plaintiff’s breach of contract cause of

action, and consequently on all of the other causes of action alleged in Plaintiff’s

Petition, because of Plaintiff’s failure to satisfy the conditions precedent contained in the

policy at issue.

7.     Suits Against Us. For further defense, Defendant further relies on the following

Policy provision: “No action shall be brought unless there has been compliance with the




                                                                                    Page 4 of 8
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policy provisions and the action is started within two years and one day after the date of

loss or damage.”

8.      Failure to Mitigate. Defendant asserts that Plaintiff has failed to make

reasonable efforts to mitigate her damages.

9.      Bona Fide/Legitimate Dispute. A bona fide/legitimate dispute exists precluding

Plaintiff’s recovery of damages under extra-contractual theories including the common

law duty of good faith and fair dealing, and for violations of the Texas Insurance Code or

any other statutory or common law authority.

10.     Cap on Punitive Damages. Texas Civil Practice and Remedies Code §41.001,

et. seq., applies and punitive damages awarded, if any, are subject to the statutory limit

set forth therein, other applicable statutory authority, and common law. Further, unless

Plaintiff proves Defendant’s liability for punitive damages, and the amount of punitive

damages, if any, by clear and convincing evidence, any award of punitive damages

would violate Defendant’ due process rights guaranteed by the Fourteenth Amendment

to the United States Constitution and by Section 19 of Article 1 of the Texas

Constitution.

11.     Chapter 38 Attorney’s Fees. Plaintiff cannot recover attorney’s fees from

Defendant under Chapter 38 of the Texas Civil Practice and Remedies Code. “A person

may recover reasonable attorney's fees from an individual or corporation, in addition to

the amount of a valid claim and costs, if the claim is for…(8) an oral or written contract.”

Tex. Civ. Prac. & Rem. Code § 38.001(8).           Defendant State Farm Lloyds is an

unincorporated association of underwriters; therefore, Chapter 38 does not apply to




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Defendant State Farm Lloyds. Fleming & Assocs., L.L.P. v. Barton, 2014 Tex. App.

LEXIS 2250 (Tex. App. Houston 14th Dist. Feb. 27, 2014).

12.     Excessive Demand Doctrine. Defendant further asserts that Plaintiff’s claim for

attorney’s fees are barred in whole or in part by the doctrine of excessive demand.

Defendant would show that Plaintiff’s demand letter is an unreasonable and excessive

demand.

13.     Conditions Precedent.      Defendant specifically denies that all conditions

precedent to Plaintiff’s recovery under the Policy have occurred or otherwise been

satisfied.

                                          III.

                                       PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant STATE FARM LLOYDS

requests judgment of the Court that Plaintiff take nothing by this suit, and that

Defendant be awarded costs and such other and further relief to which it may be justly

entitled.




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                                      Respectfully submitted,

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                                            Attorneys for Defendants




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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 12th day of November, 2015, a true and correct
copy of the foregoing document was sent via facsimile to the following:

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      josh@thejdfirm.com
      Katherine Ray
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      Attorneys for Plaintiff


                                                 _/s/Charles W Downing________
                                                 Charles Downing




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1 Inc., Dallas 1-800-648-7022
                                                                                        CIVIL DOCKET                                                                                                 CASE NO. 1)~-15-5~Cf

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